Case 4:11-cr-40037-SOH          Document 1814  Filed 09/18/17              Page 1 of 5 PageID #:
                                          6775



                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                            RESPONDENT

vs.                                 Criminal No. 4:11-cr-40037-36
                                    Civil No. 4:17-cv-04026

RICKY BAKER                                                                              MOVANT

             MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

        Movant is Ricky Baker (“Baker”) who is proceeding pro se. On June 26, 2017, Baker filed

a Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence. ECF No. 1792. After

being directed by the Court to respond, the Government filed a response to this Motion. ECF No.

1799.

        The Motion was referred for findings of fact, conclusions of law, and recommendations for

the disposition of the case. The Court has reviewed the Motion and the response; and based upon

that review, the Court recommends this Motion be DENIED.

1.      Procedural Background:

        On September 14, 2011, Baker was charged in seven counts of a 190-count Indictment issued

by a Federal Grand Jury for the Western District of Arkansas. ECF No. 1. On November 3, 2011,

Baker appeared with counsel before the undersigned for an arraignment and entered pleas of not

guilty to the seven counts charged against him. ECF No. 341.

        On January 26, 2012, Baker appeared before the Honorable Susan O. Hickey for a change

of plea hearing and pled guilty to Count Fifty-Two (52) of the Indictment for distribution of cocaine

base within 1000 feet of public housing. ECF No. 545. Specifically, Count Fifty-Two alleged as

follows: “On or about January 28, 2011, in the Western District of Arkansas, Texarkana Division,

                                                -1-
Case 4:11-cr-40037-SOH           Document 1814  Filed 09/18/17              Page 2 of 5 PageID #:
                                           6776



and elsewhere, the defendant, RICKY BAKER, aka ‘Debo’, did knowingly distribute .1634 grams

of mixture or substance containing cocaine base, commonly known as ‘crack cocaine,’ a Schedule

II controlled substance, within 1000 feet of the real property comprising Pinehurst Village, a housing

facility owned by a public housing authority, in violation of Title 21 U.S.C. §§ 841(a)(1) and

860(a).” ECF No. 1 at 18.

       A Plea Agreement was filed (ECF No. 546), and Judge Hickey ordered a Presentence

Investigation Report (“PSR”). ECF No. 689. Thereafter, on April 25, 2012, Baker was sentenced

to one-hundred thirty (130) months imprisonment and found to be a career offender under U.S.S.G.

§ 4B1.1. ECF No. 688. According to the Final Presentence Report and Addendum, Baker was

found to be a career offender based on violent offenses for domestic battery (first degree) and

domestic battery (third degree). ECF No. 689. The judgment was entered on May 1, 2012. ECF

No. 713. Baker did not appeal his sentence.

       On April 24, 2017, Baker filed a pro se Motion for Relief under 28 U.S.C. § 2255. ECF No.

1792. The Government responded to this Motion on June 26, 2017. ECF No. 1799. In this

response, the Government claims Baker’s Motion is clearly barred because it was untimely filed.

Id. Accordingly, the Government claims Baker’s Motion must be dismissed. Id.

2.     Applicable Law:

       A § 2255 motion is fundamentally different from a direct appeal. The Court will not

reconsider an issue, which was decided on direct appeal, in a motion to vacate pursuant to § 2255.

See United States v. Davis, 406 F.3d 505, 511 (8th Cir. 2005); Dall v. United States, 957 F.2d 571,

572 (8th Cir.1992) ( “Claims which were raised and decided on direct appeal cannot be relitigated

on a motion to vacate pursuant to 28 U.S.C. § 2255 .”).


                                                 -2-
Case 4:11-cr-40037-SOH            Document 1814  Filed 09/18/17              Page 3 of 5 PageID #:
                                            6777



         “Relief under 28 U.S.C. § 2255 is reserved for transgressions of constitutional rights and for

a narrow range of injuries that could not have been raised on direct appeal and, if uncorrected, would

result in a complete miscarriage of justice.” United States v. Apfel, 97 F.3d 1074, 1076 (8th Cir.

1996).

3.       Discussion:

         The Government claims Baker’s Motion should be dismissed because it was untimely filed.

Upon review, the Court agrees with the Government and finds Baker’s Motion should be dismissed

because it was untimely filed.

         A.     One-Year Statute of Limitations

         On April 24, 1996, the Antiterrorism and Effective Death Penalty Act of 1996 (hereinafter

“AEDPA”) was signed into law. A one-year statute of limitations was enacted for motions to vacate,

set aside or correct a sentence pursuant to 28 U.S.C. § 2255. In general, a movant for collateral relief

has one year from “the date on which the judgment became final” to file a motion challenging his

conviction.

         In the present action, Baker’s sentence was filed on May 1, 2012. ECF No. 713. Baker’s

conviction became final on May 15, 2012, when fourteen days had passed without filing an appeal.

See FED. R. APP. P. 4(b)(1)(A) (recognizing a defendant in a criminal case has fourteen days to file

a notice of appeal). Baker then had one year, or until May 15, 2013, in which to file a motion under

§ 2255. Here, Baker’s § 2255 Motion was filed on April 24, 2017 and falls more than three years

outside of the one-year time limit to present a timely motion. Accordingly, Baker’s § 2255 Motion

was filed well beyond the last day it properly could have been filed. It is, therefore, untimely filed

unless an exception applies.



                                                  -3-
Case 4:11-cr-40037-SOH           Document 1814  Filed 09/18/17               Page 4 of 5 PageID #:
                                           6778



        B.     Exception to Statute of Limitations

        The Court will now consider if an exception to the one-year statute of limitations applies.

Under 28 U.S.C § 2255(f)(3), for example, the one-year statute of limitation does not begin to run

until “the date on which the right asserted was initially recognized by the Supreme Court, if that right

has been newly recognized by the Supreme Court and made retroactively applicable to cases on

collateral review.”

        In Baker’s case, he claims two cases meet this standard and allow him the opportunity to file

a belated § 2255 Motion: (1) Mathis v. United States, 136 S. Ct. 2243 (2016); and (2) Descamps v.

United States, 133 S. Ct. 2276 (2013). ECF No. 1792. However, neither one of these cases offers

Baker relief. Indeed, both of these cases relate to the Armed Career Criminal Act (“ACCA”). In the

instant case, Baker’s sentence was not impacted by the ACCA; rather, his sentence was enhanced

for violent felonies which resulted in him being designed a career offender under U.S.S.G. §

4B1.1(a). ECF No. 689 ¶ 35. Thus, even assuming these two cases meet the standard from 28 U.S.C

§ 2255(f)(3), Baker is still not entitled to relief under either the Mathis or Descamps case.

        Further, the Court notes Mathis did not establish a new constitutional right. In fact Mathis

specifically stated: “Our precedents make this a straightforward case. For more than 25 years, we

have repeatedly made clear that application of ACCA involves, and involves only, comparing

elements. . . . And that rule does not change when a statute happens to list possible alternative means

of commission.” Mathis, 136 S. Ct. at 2257. Similarly, Descamps did not establish a new rule of

constitutional law. “Rather than establish a new rule for analyzing indivisible statutes, Descamps

simply reaffirmed that “[t]he modified approach does not authorize a sentencing court to substitute

... a facts-based inquiry for an elements-based one.” Headbird v. United States, 813 F.3d 1092, 1096



                                                  -4-
Case 4:11-cr-40037-SOH             Document 1814  Filed 09/18/17                 Page 5 of 5 PageID #:
                                             6779



(8th Cir. 2016).

       Accordingly, neither Mathis nor Descamps are applicable to Baker’s claim here nor did either

operate to extend the time he had in which to file the instant Motion. This Court lacks jurisdiction

to consider his claims.

4.     Conclusion:

       Baker’s Motion is time-barred under the AEDPA one-year statute of limitations. At the very

latest, he was required to file his 28 U.S.C. § 2255 motion by May 15, 2013. Here, Baker waited

until April 24, 2017 to file his 28 U.S.C. § 2255 motion.

5.     Recommendation:

       Accordingly, based on the foregoing, the Court recommends the instant Motion (ECF No.

1792) be DENIED and dismissed with prejudice.1 The Court further recommends no Certificate of

Appealability issue in this matter.

       The Parties have fourteen (14) days from receipt of this Report and Recommendation

in which to file written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file timely

objections may result in waiver of the right to appeal questions of fact. The Parties are

reminded that objections must be both timely and specific to trigger de novo review by the

district court. See Thompson v. Nix, 897 F.2d 356, 357 (8th Cir. 1990).

       DATED this 18th day of September 2017.

                                                                    /s/ Barry A. Bryant
                                                                   HON. BARRY A. BRYANT
                                                                   U.S. MAGISTRATE JUDGE

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                  "A federal court may dismiss a claim without an evidentiary hearing where the allegations
      are frivolous, where the allegations fail to state a constitutional claim, where the relevant facts are not
      in dispute, or where the dispute can be resolved on the basis of the record." Urquhart v. Lockhart, 726
      F.2d 1316, 1318-19 (8th Cir.1984).

                                                    -5-
